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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

JOHN VAN ORDEN, et al.,                        )
                                               )
              Plaintiffs,                      )
                                               )
        v.                                     )            Case No. 4:09CV00971 AGF
                                               )
KEITH SCHAEFER, et al.,                        )
                                               )
              Defendants.                      )


                              MEMORANDUM AND ORDER

        This matter is before the Court on Plaintiffs’ uncontested motion (Doc. No. 355) to

bifurcate the trial by first conducting a separate trial on the question of whether Defendants

are liable for the claims asserted by Plaintiffs, and if Plaintiffs prevail, then conducting a

second trial to determine the appropriate remedies and relief, including further reports and

recommendations from appointed experts. For the reasons set for the below, the motion

shall be granted.

                                       BACKGROUND

        Plaintiffs, current and former civilly-committed residents of the Missouri Department

of Mental Health’s (“Department”) Sexual Offender Rehabilitation and Treatment Services

(“SORTS”)1 facilities, brought this putative class action asserting numerous violations of the

United States and Missouri constitutions, as well as the Americans with Disabilities Act,

based on the alleged lack of adequate care and treatment provided to them. They also

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     Formerly, the Missouri Sexual Offender Treatment Center (“MSOTC”).
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challenge the constitutionality of Missouri’s statutory scheme that provides for

reimbursement from Plaintiffs and/or their families or estates for the costs of Plaintiffs’ care

and treatment. Plaintiffs seek declaratory and injunctive relief.

       In support of their uncontested motion to bifurcate the trial, Plaintiffs assert that

bifurcation will serve judicial economy and promote settlement because if liability is found

in phase one, the parties may reach agreement on an appropriate remedy and avoid the need

for expensive expert discovery and recommendations regarding the scope of relief.

Alternatively, if liability is not found, there will be no need for presentation of evidence

regarding the scope of relief. Finally, Plaintiffs assert that bifurcation will not prejudice

Defendants, as Defendants do not object to Plaintiff’s motion to bifurcate.

                                        DISCUSSION

       Federal Rule of Civil Procedure 42(b) provides that the Court, “[f]or convenience, to

avoid prejudice, or to expedite and economize,” may “order a separate trial of one or more

separate issues[.]” Fed. R. Civ. P. 42(a). District courts are given “considerable latitude in

deciding the most efficient and effective method of disposing of the issues in a case, so long

as a party is not prejudiced.” Rolscreen Co. v. Pella Prods. of St. Louis, Inc., 64 F.3d 1202,

1209 (8th Cir. 1995). Factors to consider in determining whether bifurcation is appropriate

include “the separability of the issues; simplification of discovery and conservation of

resources; prejudice to the parties; and the effect of bifurcation on the potential for

settlement.” Bancorp Servs., L.L.C. v. Sun Life Assur. Co. of Canada, No. 4:00-CV-1073

(CEJ), 2006 WL 1026992, at *2 (E.D. Mo. Apr. 14, 2006) (citation omitted).




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       In this case, the Court finds that bifurcation is warranted because the issues of

liability and damages are separable, bifurcation may promote settlement and will likely

conserve resources, and as Defendants do not object to bifurcation, no party will be

prejudiced.

                                        CONCLUSION

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs’ motion to bifurcate trial is GRANTED.

(Doc. No. 355.) The current trial setting in this case shall be limited to a trial on the

question of whether Defendants are liable for the claims asserted by Plaintiffs. If Plaintiffs

prevail on any claim, then the Court shall order the parties to submit a proposed schedule for

a second trial to determine the appropriate remedies and relief.



                                                     _______________________________
                                                     AUDREY G. FLEISSIG
                                                     UNITED STATES DISTRICT JUDGE

Dated this19th day of December, 2014.




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